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9
10                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13
14   UNITED STATES OF AMERICA,                     )       No. CR 05-0395 CRB
                                                   )
15             Plaintiff,                          )       REQUEST, STIPULATION AND ORDER
                                                   )
16        v.                                       )
                                                   )
17   CHANG SOO YOUN,                               )
                                                   )
18             Defendant.                          )
                                                   )
19
          This matter is currently on the Court’s calendar for July 26, 2006. Through counsel,
20
     defendant Chang Soo Youn and the United States ask the Court to vacate the July 26, 2006 date
21
     based on the defendant’s anticipated change-of-plea and set a date of August 16, 2006, for the
22
     change-of-plea.
23
          1. The parties have an agreement in principle and are in the process of working out the
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     language of a plea agreement for approval. The parties require additional time to finalize the
25
     documents.
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     \\
28

     ORDER
     CR 05-0395 CRB                                    1
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1        2. Previously, the Court excluded time until September 11, 2006, and thus there are no Speed
2    Trial issues.
3
4    STIPULATED:
5        7/24/06                                  /s/ PETER B. AXELROD
6    DATE                                         PETER B. AXELROD
                                                  LAUREL BEELER
7                                                 Assistant United States Attorneys
8
         7/24/06                                  /s/ BRIAN BERSON
9
     DATE                                         BRIAN BERSON
10                                                Attorney for Chang Soo Youn
11
                                                 ORDER
12
         For good cause shown, with the agreement of the parties, and for the reasons stated above,
13
     the Court vacates the July 26, 2006 hearing and sets the matter for change-of-plea on August 16,
14
     2006, at 2:15 p.m.
15
         IT IS SO ORDERED.
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17
                                                       TA
     DATED:________________
            July 25, 2006                         ___________________________
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18                                                CHARLES R. BREYER
                                                                                      RT


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                                                  United States District Judge
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     ORDER
     CR 05-0395 CRB                                  2
